Case 1:23-cv-00931-CFC Document 62 Filed 01/29/24 Page 1 of 2 PageID #: 1519



                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

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 ASTRAZENECA PHARMACEUTICALS              :
 LP,                                      :
                                          :
                     Plaintiff,           :
                                          :
                     v.                   :            Civil Action No. 23-931-CFC
                                          :
 XAVIER BECERRA, in his official capacity :
 as SECRETARY OF HEALTH AND               :
 HUMAN SERVICES,                          :
                                          :
                     and                  :
                                          :
 CHIQUITA BROOKS-LASURE,                  :
 in her official capacity as              :
 ADMINISTRATOR OF THE CENTERS             :
 FOR MEDICARE & MEDICAID                  :
 SERVICES,                                :
                     Defendants.          :
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                          ENTRY OF APPEARANCE

      Please enter the appearance of Jacob Laksin, Assistant United States Attorney

for the District of Delaware, as co-counsel for all Defendants in the above-captioned

matter.
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                                        Respectfully submitted,

                                        DAVID C. WEISS
                                        United States Attorney

                                   BY: /s/ Jacob Laksin
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                                       Assistant United States Attorney
                                       United States Attorney’s Office
                                       District of Delaware
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Dated:      January 29, 2024
